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                                           Annex B

                                    Form of Rejection Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                                ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                  REAL PROPERTY AND (B) ABANDON CERTAIN PERSONAL PROPERTY
                  IN CONNECTION THEREWITH AND (II) GRANTING RELATED RELIEF

                  Pursuant to and in accordance with the Order (I) Approving Procedures for Rejecting

         Unexpired Leases of Nonresidential Real Property, (II) Authorizing the Debtors to Enter Into

         Amendments to Certain Unexpired Leases of Nonresidential Real Property, and (III) Granting

         Related Relief [Docket No. 408] (the “Rejection Procedures Order”)2 entered in the above-

         captioned chapter 11 cases of Mattress Firm, Inc. and its affiliated debtors and debtors in

         possession (collectively, the “Debtors”); and the Debtors having properly filed with this Court

         and served on the Rejection Notice Parties a notice [Docket No. ___] (the “Rejection Notice”) of

         their intent to reject the unexpired leases specified on Schedule 1 hereto (the “Specified Leases”)

         in accordance with the terms of the Rejection Procedures Order; and such notice having been

         adequate and appropriate under the circumstances; and it appearing that no other or further notice

         need be provided; and no timely objections having been filed to the Rejection Notice; and the


         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Rejection Procedures Order.
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         Court having found that the relief requested is in the best interests of the Debtors’ estates, their

         creditors and other parties in interest; and after due deliberation and sufficient cause appearing

         therefor, it is HEREBY ORDERED THAT:

                1.      The Specified Leases set forth on Schedule 1 are hereby rejected as set forth

         herein, effective with respect to each Specified Lease as of the later of (i) October 31, 2018 and

         (ii) the date on which the Debtors surrender possession of the store subject to the relevant

         Specified Lease to the Lease Counterparty by notifying the affected Lease Counterparty in

         writing thereof and (A) have turned over the store keys, key codes, or security codes, if any, to

         the Lease Counterparty or (B) have notified the affected Lease Counterparty in writing that the

         store keys, key codes, or security codes, if any, are not available and that the Lease Counterparty

         may re-key the store (each such rejection effective date, the “Rejection Date”); provided,

         however, that the Debtors shall not withdraw the Rejection Notice with respect to any Specified

         Lease absent the consent of the applicable Lease Counterparty.

                2.      Any and all Personal Property remaining at the leased premises as of the

         applicable Rejection Date shall be deemed abandoned upon the Rejection Date without further

         notice or order of the Court, free and clear of all liens, claims, interests, or other encumbrances.

         Any Lease Counterparty or other designee shall be free to dispose of any such items without

         notice or liability to any party. The right of any Lease Counterparty to file a claim for the costs

         of disposal of such Personal Property, if any, is fully reserved, as are the rights of all parties in

         interest to object to such claim.

                3.      If a Lease Counterparty wishes to assert a claim arising from the rejection of a

         Specified Lease, the Lease Counterparty shall file a proof of claim with the Debtors’ claims and

         noticing agent before the deadline specified in the Notice of Effective Date to be filed by the


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         Debtors with the Court. The Notice of Effective Date will be made available, together with other

         documents relating to lease rejections, on the website maintained by the Debtors’ claims and

         noticing agent, at http://dm.epiq11.com/MFLeaseRejection. If a Lease Counterparty fails to

         timely file a proof of claim, the Lease Counterparty shall be forever barred from asserting a

         claim for damages arising from the rejection of the applicable Specified Lease and from

         participating in any distributions made in connection with these chapter 11 cases on account of

         such claim.      Proofs of claim and instructions for submission may be obtained at

         http://dm.epiq11.com/MFLeaseRejection.

                4.      Nothing contained in this Order is intended to be or shall be construed as (a) an

         admission as to the validity, priority, or amount of any particular claim against a Debtor entity;

         (b) a waiver of the Debtors’ or any other party-in-interest’s rights to dispute any particular claim

         on any grounds; (c) a promise or requirement to pay any particular claim; (d) an implication or

         admission that any particular claim is of a type specified or defined in the Rejection Procedures

         Order or the Rejection Notice; or (e) a waiver or limitation of the Debtors’ or any other party-in-

         interest’s rights under the Bankruptcy Code or any other applicable law.

                5.      Notwithstanding entry of this Order, nothing herein shall create, or is intended to

         create, any rights in favor of or enhance the status of any claim held by, any party.

                6.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order.

                7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: _____________, 2018
         Wilmington, Delaware                        CHRISTOPHER S. SONTCHI
                                                     CHIEF UNITED STATES BANKRUPTCY JUDGE

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                                       Schedule 1

                                     Specified Leases




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                                                                                    Schedule 11

                  STORE        LEASE COUNTERPARTY
                                                                     DEBTOR                  PROPERTY ADDRESS                           ABANDONED PROPERTY
                 NUMBER            AND ADDRESS
                                     8612 Realty Co., LLC                                                                       TBD – may include Personal Property such as
       1.                                                                                         478 86th Street
                   156008             7500 Fourth Avenue            Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                Brooklyn, NY 11230
                                     Brooklyn, NY, 11209                                                                        frames
                                 ARC MFWMTNC001, LLC
                                       c/o VEREIT, Inc.
                                                                                                                                TBD – may include Personal Property such as
       2.                        2325 East Camelback Road,                                      5130 Market street
                   076005                                         Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                           Suite 1100                                          Wilmington, NC 28405
                                                                                                                                frames
                                   ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                                 ARCP MF Raleigh NC LLC
                                       c/o VEREIT, Inc.
                                                                                                                                TBD – may include Personal Property such as
       3.                        2325 East Camelback Road,                                  4530 Fayetteville Rd, US 401
                   013039                                         Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                           Suite 1100                                           Raleigh, NC 27603
                                                                                                                                frames
                                   ATTN: Ruth Cavallucci
                                      Phoenix, AZ, 85016
                                 ASG Watauga Pavilion, Ltd.
                                     c/o Inland Southwest                                                                       TBD – may include Personal Property such as
       4.                                                                                  7600 Denton Highway Suite 144
                   002113         Management, LLC # 5010          Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                                Watauga, TX 76148
                                     2901 Butterfield Road                                                                      frames
                                     Oak Brook, IL, 60523
                                          AZ77 LLC
                                c/o The RH Johnson Company                                                                      TBD – may include Personal Property such as
       5.                                                                                     2121 SW Wanamaker Rd
                   009039       4520 Madison Ave, Suite 300       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                              Topeka, KS 66614-5214
                                      ATTN: Lisa Randall                                                                        frames
                                   Kansas City, MO, 64111
                                       B & H Land Trust                                                                         TBD – may include Personal Property such as
       6.                                                                                    13500 Beach Blvd. Suite 33
                   016027       1 Sleiman Parkway, Suite 230      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                               Jacksonville, FL 32246
                                    Jacksonville, FL, 32216                                                                     frames
                               BRE DDR Connecticut Commons
                                      LLC c/o DDR Corp.                                                                         TBD – may include Personal Property such as
       7.                                                                                     290 New Britain Avenue
                   165020          3300 Enterprise Parkway          Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                Plainville, CT 06062
                                     ATTN: EVP - Leasing                                                                        frames
                                   Beachwood, OH, 44122




         1
          The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of the Lease, or as to the existence or validity
         of any claims held by the counterparty or counterparties to such Lease.




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                 STORE    LEASE COUNTERPARTY
                                                              DEBTOR                 PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                           BRE RC Riverpark SC TX LP
                            c/o ShopCore Properties, LP
                                                                                                                      TBD – may include Personal Property such as
       8.                  Two Liberty Place, Suite 3325                             19922 Southwest Fwy Unit 52
                 001181                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                 50 South 16th Street                                   Sugar Land, TX 77479
                                                                                                                      frames
                              ATTN: Legal Department
                               Philadelphia, PA, 19102
                                 Brixmor SPE 5 LLC
                             c/o Brixmor Property Group
                                                                                                                      TBD – may include Personal Property such as
       9.                   450 Lexington Avenue, 13th                                  501 E Roosevelt Road
                 119210                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                         Floor                                           Lombard, IL 60148
                                                                                                                      frames
                              ATTN: Legal Department
                                New York, NY, 10017
                                  Canton West, LLC
                                                                                                                      TBD – may include Personal Property such as
       10.                       17 South Main Street                                    81 Albany Turnpike
                 165002                                      Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                               ATTN: Abraham Kaoud                                        Canton, CT 06019
                                                                                                                      frames
                              West Hartford, CT, 06107
                              CFT Developments, LLC
                                                                                                                      TBD – may include Personal Property such as
       11.                   1683 Walnut Grove Avenue                                   120 W North Avenue
                 119229                                    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                              ATTN: Legal Department                                    Northlake, IL 60164
                                                                                                                      frames
                                Rosemead, CA, 91770
                                    Citibank, N.A.
                               c/o Citi Realty Services                                                               TBD – may include Personal Property such as
       12.                                                                                 2450 Route 34
                 119240     710 Riverpoint Court, #0268    Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                          Oswego, IL 60543
                             ATTN: Real Estate Director                                                               frames
                            West Sacramento, CA, 95605
                             Cole MF Phoenix AZ, LLC
                                   c/o VEREIT, Inc.                                                                   TBD – may include Personal Property such as
       13.                                                                              4456 E. Thomas Road
                 029067      2325 East Camelback Road,     Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                         Phoenix, AZ 85018
                                       Suite 1100                                                                     frames
                                 Phoenix, AZ, 85016
                          Cole MT Harker Heights TX LLC
                                   c/o VEREIT, Inc.                              201 E. Central Texas Expressway,     TBD – may include Personal Property such as
       14.       060005      2325 East Camelback Road,     Mattress Firm, Inc.               Ste. 700                 display racks, frames, desk chairs and/or bed
                                       Suite 1100                                   Harker Heights, TX 76548          frames
                                 Phoenix, AZ, 85016
                            Collin Creek Associates, LLC
                                                                                 1001 N. Central Expressway, Suite    TBD – may include Personal Property such as
       15.                       c/o FRP Acquisitions
                 002120                                    Mattress Firm, Inc.                3100B                   display racks, frames, desk chairs and/or bed
                          5207 McKinney Avenue, Suite 22
                                                                                         Plano, TX 75075              frames
                                   Dallas, TX, 75202




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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                  PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                              Columbia Crossing I, LLC
                            c/o Kimco Realty Corporation
                                                                                                                         TBD – may include Personal Property such as
       16.                3333 New Hyde Park Road, Suite                               6250 Columbia Crossing Drive
                 152025                                        Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                          100                                              Columbia, MD 21045
                                                                                                                         frames
                              ATTN: Legal Department
                             New Hyde Park, NY, 11042
                                 Crossings 11K, LLC                                                                      TBD – may include Personal Property such as
       17.                                                                                1205 W Lane Road
                 111170        6801 Spring Creek Road        Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                        Machesney Park, IL 61115
                                 Rockford, IL, 61114                                                                     frames
                                CSD Addison EK LLC
                                c/o Mid-America Asset                                                                    TBD – may include Personal Property such as
       18.                                                                                3545 N Kedzie Avenue
                 119176            Management, Inc.          Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                            Chicago, IL 60618
                            One Parkview Plaza, 9th Floor                                                                frames
                            Oakbrook Terrace, IL, 60181
                                 D3 Gulf Breeze, LLC
                                                                                                                         TBD – may include Personal Property such as
       19.                 3841 Green Hills Village Drive,                              3781 Gulf Breeze Parkway
                 081012                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                       Suite 400                                          Gulf Breeze, FL 32561
                                                                                                                         frames
                                 Nashville, TN, 37215
                               D3 Overland Park, LLC
                           3841 Green Hills Village Drive,                                                               TBD – may include Personal Property such as
       20.                                                                                 6941 West 119th St.
                 009032                Suite 400             Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                         Overland Park, KS 66209
                               ATTN: Mark McDonald                                                                       frames
                                 Nashville, TN, 37215
                                   Dash Family 2009
                                                                                                                         TBD – may include Personal Property such as
       21.                         5467 Bahia Lane                                           778 Beal Pkwy
                 065005                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                              ATTN: David Rottenberg                                   Fort Walton Beach, FL 32457
                                                                                                                         frames
                                  La Jolla, CA, 92037
                            Davidson Commons 1682, LP
                            c/o Kimco Realty Corporation                                                                 TBD – may include Personal Property such as
       22.                                                                              610 Jetton Street Suite 110
                 024178   3333 New Hyde Park Road, Suite       Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                                                                          Davidson, NC 28036
                                          100                                                                            frames
                             New Hyde Park, NY, 11042
                             DDR Carolina Pavilion, LP
                                    c/o DDR Corp.
                                                                                                                         TBD – may include Personal Property such as
       23.                     3300 Enterprise Parkway                                    9519 Ste A South Blvd
                 024043                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                          ATTN: Executive Vice President-                                  Charlotte, NC 28273
                                                                                                                         frames
                                        Leasing
                                Beachwood, OH, 44122




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                 STORE    LEASE COUNTERPARTY
                                                                 DEBTOR                 PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                 DDR Seabrook LLC
                                    c/o DDR Corp.                                                                          TBD – may include Personal Property such as
       24.                                                                                  700 Lafayette Road
                 120195       3300 Enterprise Parkway           Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                           Seabrook, NH 03874
                          ATTN: Executive Vice President                                                                   frames
                               Beachwood, OH, 44122
                             DDRA Community Centers
                                      Eight, L.P.
                                    c/o DDR Corp.                                                                          TBD – may include Personal Property such as
       25.                                                                              2805 W Agua Fria Fwy Ste 1
                 029101       3300 Enterprise Parkway         Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                            Phoenix, AZ 85027
                          ATTN: Executive Vice President                                                                   frames
                                       - Leasing
                               Beachwood, OH, 44122
                          Derito Talking Stick North, LLC
                                                                                                                           TBD – may include Personal Property such as
       26.                9120 E. Talking Stick Way, Suite                                  9180 E Indian Road
                 029076                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          E1                                               Scottsdale, AZ 85250
                                                                                                                           frames
                                Scottsdale, AZ, 85250
                          Derito Talking Stick South, LLC
                                                                                                                           TBD – may include Personal Property such as
       27.                9120 E. Talking Stick Way, Suite                                9039 Talking Stick Way
                 029159                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          E1                                               Scottsdale, AZ 85250
                                                                                                                           frames
                                Scottsdale, AZ, 85250
                          Donahue Schriber Realty Group,
                                          LP
                                                                                                                           TBD – may include Personal Property such as
       28.                 200 East Baker Street, Suite 100    The Sleep Train,         3030 N Dinuba Blvd, Ste. 5A
                 504029                                                                                                    display racks, frames, desk chairs and/or bed
                             ATTN: Property Manager –                Inc.                    Visalia, CA 93291
                                                                                                                           frames
                                    Orchard Walk
                             East Costa Mesa, CA, 92626
                          EastGroup Properties, LLC 7004                                                                   TBD – may include Personal Property such as
       29.                                                                                 11840 Beach Blvd. #5
                 016008       Benjamin Road, Suite 100        Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                          Jacksonville, FL 32246
                                  Tampa, FL, 33634                                                                         frames
                                   Emmes, LLC c/o
                           Shiner Management Group, Inc.
                                                                                                                           TBD – may include Personal Property such as
       30.                 3201 Old Glenview Road, Suite                                     2581 N. Elston
                 119084                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                          301                                               Chicago, IL 60614
                                                                                                                           frames
                                ATTN: Marcy Shiner
                             Edidin Wilmette, IL, 60091
                           Federal Realty Investment Trust
                            c/o Federal Realty Investment
                                                                                                                           TBD – may include Personal Property such as
       31.                               Trust                                             171 Skokie Valley Rd.
                 119065                                       Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                          1626 East Jefferson Street ATTN:                                Highland Park, IL 60035
                                                                                                                           frames
                                  Legal Department
                             Rockville, MD, 20852-4041


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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                   PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                           Federal Realty Investment Trust
                            c/o Federal Realty Investment
                                                                                                                          TBD – may include Personal Property such as
       32.                               Trust                                             1532 Butterfield Road
                 119199                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                               1626 East Jefferson Street                                 Downers Grove, IL 60515
                                                                                                                          frames
                               ATTN: Legal Department
                             Rockville, MD, 20852-4041
                           Federal Realty Investment Trust                                                                TBD – may include Personal Property such as
       33.                                                                              3371 US Highway 1 Unit 403
                 162033        1626 East Jefferson Street      Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                        Lawrence Township, NJ 08648
                                 Rockville, MD, 20852                                                                     frames
                                  FR Riverpoint, LLC
                            c/o Federal Realty Investment
                                                                                                                          TBD – may include Personal Property such as
       34.                               Trust                                     2576 N. Clybourn Avenue Chicago, IL
                 119248                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                               1626 East Jefferson Street                                        60614
                                                                                                                          frames
                               ATTN: Legal Department
                             Rockville, MD, 20852-4041
                            FW IL-Riverview Plaza, LLC
                          c/o Regency Centers Corporation                                                                 TBD – may include Personal Property such as
       35.                                                                               3344 North Western Avenue
                 119249   One Independent Drive, Suite 114   Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                                                                             Chicago, IL 60618
                             ATTN: Lease Administration                                                                   frames
                            Jacksonville, FL, 32202-5019
                               Goodman Landmark I, LP
                             c/o Goodman Properties, Inc.                                                                 TBD – may include Personal Property such as
       36.                                                                                  1661 Easton Road
                 168045     636 Old York Road, 2nd Floor       Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                           Warrington, PA 18976
                              ATTN: Bruce A. Goodman                                                                      frames
                                Jenkintown, PA, 19046
                                    Goodmill, LLC
                             c/o Goodman Properties, Inc.                                                                 TBD – may include Personal Property such as
       37.                                                                                 2150 North 2nd Street
                 162043     363 Old York Road, 2nd Floor       Sleepy's, LLC                                              display racks, frames, desk chairs and/or bed
                                                                                            Millville, NJ 08332
                              ATTN: Bruce A. Goodman                                                                      frames
                                Jenkintown, PA, 19046
                            Hemstreet Development Corp.
                                                                                                                          TBD – may include Personal Property such as
       38.                  c/o CBRE 2415 E. Camelback                               3125 S Alma School Rd Suite #8
                 029130                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                                         Road                                             Chandler, AZ 85248
                                                                                                                          frames
                                  Phoenix, AZ, 85016
                              Hodges Trails at 620, LLC
                                                                                                                          TBD – may include Personal Property such as
       39.                     c/o The Weitzman Group                               8300 N. FM 620 Bldg K., Ste. 200
                 004075                                      Mattress Firm, Inc.                                          display racks, frames, desk chairs and/or bed
                           4200 N. Lamar Blvd., Suite 200                                  Austin, TX 78726
                                                                                                                          frames
                                   Austin, TX, 78756




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                 STORE    LEASE COUNTERPARTY
                                                                 DEBTOR                  PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                            IA McKinney Towne Crossing
                                           LP
                                c/o InvenTrust Property
                                                                                                                            TBD – may include Personal Property such as
       40.                         Management, LLC                                          8950 State Hwy 121
                 002056                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                            3025 Highland Parkway, Suite                                    McKinney, TX 75070
                                                                                                                            frames
                                          350
                               ATTN: Property Manager
                               Downers Grove, IL, 60515
                            Inland Real Estate LB I, L.L.C.
                              c/o IRC Retail Centers, LLC
                                                                                                                            TBD – may include Personal Property such as
       41.                 814 Commerce Drive, Suite 300                                 7531 Lemont Road, Suite A
                 119096                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                               ATTN: President, Property                                      Darien, IL 60561
                                                                                                                            frames
                              Management Oak Brook, IL,
                                         60523
                           Inland Western Denton Crossing
                                          Ltd
                          c/o RPAI Southwest Management
                                                                                                                            TBD – may include Personal Property such as
       42.                                LLC                                            1400 S. Loop 288, Ste. 120
                 002042                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                              2021 Spring Road, Suite 200                                   Denton, TX 76205
                                                                                                                            frames
                               ATTN: President/Property
                                      Management
                                  Oak Brook, IL, 60523
                                     JAG-BCII LLC                                                                           TBD – may include Personal Property such as
       43.                                                                               8403 State Hwy 151, Ste 600
                 005027       10010 San Pedro, Suite 650      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                           San Antonio, TX 78245
                                San Antonio, TX, 78216                                                                      frames
                                   Kimco Tyvola, LP
                             c/o Kimco Realty Corporation                                                                   TBD – may include Personal Property such as
       44.                                                                                   5411 South Blvd
                 024192   3333 New Hyde Park Road, Suite        Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                            Charlotte, NC 28217
                                          100                                                                               frames
                              New Hyde Park, NY, 11042
                            KIR Arboretum Crossing, L.P.
                             c/o Kimco Realty Corporation                                                                   TBD – may include Personal Property such as
       45.                                                                            9333 Research Blvd., Ste., A 100
                 004071   3333 New Hyde Park Road, Suite      Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                            Austin, TX 78759
                                          100                                                                               frames
                          New Hyde Park, NY, 11042-0020
                              KRG New Hill Place I, LLC
                                                                                                                            TBD – may include Personal Property such as
       46.                     c/o Kite Realty Group, LP                            153 Grand Hill Place, Bldg C. Ste 340
                 013033                                       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                            30 South Meridian, Suite 1100                                Holly Springs, NC 27540
                                                                                                                            frames
                                 Indianapolis, IN, 46204




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                 STORE    LEASE COUNTERPARTY
                                                                  DEBTOR                 PROPERTY ADDRESS                         ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                Lincoln Kimball Plaza
                            c/o National Shopping Plazas,
                                                                                                                          TBD – may include Personal Property such as
       47.                               Inc.                                             6170 N Lincoln Avenue
                 119147                                        Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                           200 West Madison Street, Suite                                   Chicago, IL 60659
                                                                                                                          frames
                                         4200
                                  Chicago, IL, 60606
                            Linear Retail Nashua #1 LLC
                           c/o Linear Retail Partners LLC
                                                                                                                          TBD – may include Personal Property such as
       48.                               Five                                              225 Daniel Webster
                 120188                                          Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                               Burlington Woods Drive                                      Nashua, NH 03060
                                                                                                                          frames
                            ATTN: William J. Beckeman
                                Burlington, MA, 01803
                           Linear Retail Westborough #1,
                                         LLC                                                                              TBD – may include Personal Property such as
       49.                                                                                    1 Oak Street
                 157006      c/o Keypoint Partners, LLC          Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                                                                                         Westborough, MA 01581
                              1 Burlington Woods Drive                                                                    frames
                                Burlington, MA, 01803
                                   Loop 1604 Group
                          1223 N. Rock Road, Building H-                                                                  TBD – may include Personal Property such as
       50.                                                                                 1603 N Loop 1604 W
                 005054                   200                  Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                          San Antonio, TX 78232
                                ATTN: Sandy Stevens                                                                       frames
                                 Wichita, KS, 67206
                          Malison Trust c/o KIN Properties,
                                         Inc.                                                                             TBD – may include Personal Property such as
       51.                                                                                  1978 Skibo Road
                 013184         185 NW Spanish River             Sleepy's, LLC                                            display racks, frames, desk chairs and/or bed
                                                                                          Fayetteville, NC 28314
                                 Boulevard, Suite 100                                                                     frames
                                Boca Raton, FL, 33431
                             Market East Associates LLC
                                                                                                                          TBD – may include Personal Property such as
       52.                 c/o Fidelis Realty Partners, Ltd.                               1505 N Town E Blvd
                 002150                                        Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                          4500 Bissonnet Street, Suite 300                                 Mesquite, TX 75150
                                                                                                                          frames
                                  Dallas, TX, 75265
                                 Memorial 14754 Ltd.
                           c/o Orr Commercial 5400 Katy                                                                   TBD – may include Personal Property such as
       53.                                                                                14754 Memorial Drive
                 001160           Freeway, Suite 100           Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                           Houston, TX 77079
                               ATTN: Robert C. Orr Jr.                                                                    frames
                                 Houston, TX, 77007
                                 Mesa Shores 00, LLC
                          c/o AFC Property Management,                                                                    TBD – may include Personal Property such as
       54.                                                                                 2154 E Baseline Rd
                 029078                  Inc.                  Mattress Firm, Inc.                                        display racks, frames, desk chairs and/or bed
                                                                                            Mesa, AZ 85204
                              12411 Ventura Boulevard                                                                     frames
                               Studio City, CA, 91604


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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                 PROPERTY ADDRESS                        ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                                   Metroplex Plaza LP
                                                                                                                       TBD – may include Personal Property such as
       55.                     c/o The Weitzman Group                                   2409 W. Airport Freeway
                 002090                                      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                           3102 Maple Avenue, Suite 350                                    Irving, TX 75062
                                                                                                                       frames
                                   Dallas, TX, 75201
                                     Mobfirm LLC
                                 c/o Robbins Properties                                                                TBD – may include Personal Property such as
       56.                                                                                 3716 Airport Blvd
                 081002     3100 West End Avenue, Suite      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                           Mobile, AL 36608
                                          1070                                                                         frames
                                  Nashville, TN, 37203
                          Mt. Pleasant Retail Venture DST
                             c/o IRC Retail Centers, LLC                                                               TBD – may include Personal Property such as
       57.                                                                         2860 S. Green Bay Rd, Suite 200
                 059085   814 Commerce Drive, Suite 300      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                      Mount Pleasant, WI 53406
                              ATTN: Property Manager                                                                   frames
                                 Oak Brook, IL, 60523
                             NADG/TRC Lakepointe, LP
                             c/o Connected Management                                                                  TBD – may include Personal Property such as
       58.                                                                             717 Hebron Pkwy, Ste. 100
                 002036              Services, LLC           Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                         Lewisville, TX 75057
                          2525 McKinnon Street, Suite 700                                                              frames
                                   Dallas, TX, 75201
                           New Plan of Arlington Heights,
                                          LLC
                             c/o Brixmor Property Group
                                                                                                                       TBD – may include Personal Property such as
       59.                   450 Lexington Avenue, 13th                                 1970 N. Arlington Road
                 119067                                      Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                          Floor                                        Arlington Heights, IL 60004
                                                                                                                       frames
                               ATTN: Office of General
                                   Counsel, Property
                                 New York, NY, 10170
                          Oxford Station High Point, LLC
                              c/o Winning Link Property                                                                TBD – may include Personal Property such as
       60.                                                                             2313 N Main St, Suite 105
                 017170              Resources, Inc.           Sleepy's, LLC                                           display racks, frames, desk chairs and/or bed
                                                                                         High Point, NC 27262
                                     P.O. Box 6332                                                                     frames
                                High Point, NC, 27262
                          Parkville Shopping Center, LLC
                          c/o Regency Centers Corporation                                                              TBD – may include Personal Property such as
       61.                                                                                 7645 Harford Road
                 152035   One Independent Drive, Suite 114     Sleepy's, LLC                                           display racks, frames, desk chairs and/or bed
                                                                                          Parkville, MD 21234
                            ATTN: Lease Administration                                                                 frames
                                Jacksonville, FL, 32202
                              Pedersen Springfield, LLC                                                                TBD – may include Personal Property such as
       62.                                                                                 2191 N. Rock Road
                 114011           2226 Tamarron Lane         Mattress Firm, Inc.                                       display racks, frames, desk chairs and/or bed
                                                                                           Wichita, KS 67206
                                  Lafayette, CO, 80026                                                                 frames



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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                 PROPERTY ADDRESS                          ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                            Plaza at Williams Center, LLC
                                                                                                                         TBD – may include Personal Property such as
       63.                      c/o Larsen Baker, LLC                                  5480 E. Broadway Blvd #110
                 062028                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                             6298 E. Grant Rd, Suite 100                                    Tucson, AZ 85711
                                                                                                                         frames
                                  Tucson, AZ, 85712
                              Point Five Goldsboro, LLC
                                                                                                                         TBD – may include Personal Property such as
       64.                333 W Washington St., Suite 610                               501 & 503 N Berkley Blvd
                 078177                                        Sleepy's, LLC                                             display racks, frames, desk chairs and/or bed
                                ATTN: Susan Poissant                                      Goldsboro, NC 27530
                                                                                                                         frames
                                 Syracuse, NY, 13202
                              Preston Shepard Place, LP
                           c/o Weingarten Realty Investors                                                               TBD – may include Personal Property such as
       65.                                                                               1713 Preston Rd, Ste. #B
                 002010     2600 Citadel Plaza Drive Suite   Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                            Plano, TX 75093
                                          125                                                                            frames
                                  Houston, TX, 77292
                            Ramco-Gershenson Properties,
                                           LP                                                                            TBD – may include Personal Property such as
       66.                                                                               1212 East Central Road
                 119223     31500 Northwestern Highway,      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                        Mount Prospect, IL 60056
                                       Suite 300                                                                         frames
                             Farmington Hills, MI, 48334
                            RAR2-Wicker Park Commons
                                          LLC
                                                                                                                         TBD – may include Personal Property such as
       67.                      c/o Mid-America Asset                                   1281 N Milwaukee Avenue
                 119267                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                   Management, Inc.                                         Chicago, IL 60622
                                                                                                                         frames
                            One Parkview Plaza, 9th Floor
                             Oakbrook Terrace, IL, 60181
                               RB Tech Ridge LLC c/o
                                                                                                                         TBD – may include Personal Property such as
       68.                      RD Management LLC                                         1100 Center Ridge Dr.
                 004070                                      Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                           810 Seventh Avenue, 10th Floor                                   Austin, TX 78753
                                                                                                                         frames
                                New York, NY, 10019
                              Realty Income Corporation                                                                  TBD – may include Personal Property such as
       69.                                                                             2239 Palm Beach Lakes Blvd
                 052028          220 West Crest Street       Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                       West Palm Beach, FL 33409
                                Escondido, CA, 92025                                                                     frames
                                 Retail Properties, Inc.
                          10739 Deerwood Park Boulevard,                                                                 TBD – may include Personal Property such as
       70.                                                                                  1226 Third St South
                 016047                Suite 300             Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                       Jacksonville Beach, FL 32250
                                ATTN: Carrie Manley                                                                      frames
                               Jacksonville, FL, 32256
                                 Rice Lake Square, LP
                                c/o Mid-America Asset                                                                    TBD – may include Personal Property such as
       71.                                                                                 3 Rice Lake Square
                 119266            Management, Inc.          Mattress Firm, Inc.                                         display racks, frames, desk chairs and/or bed
                                                                                           Wheaton, IL 60189
                            One Parkview Plaza, 9th Floor                                                                frames
                             Oakbrook Terrace, IL, 60181


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                 STORE    LEASE COUNTERPARTY
                                                                  DEBTOR                   PROPERTY ADDRESS                          ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                              Rockfirm LLC c/o Robbins
                                                                                                                             TBD – may include Personal Property such as
       72.                          Properties 1, LLC                                           5946 E. State St.
                 111002                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                           3100 West End Ave, Suite 1070                                       Rockford, IL 61108
                                                                                                                             frames
                                 Nashville, TN, 37203
                            RPAI Chicago Brickyard, LLC
                           c/o RPAI US Management, LLC
                                                                                           2620 N Narragansett Avenue        TBD – may include Personal Property such as
       73.                   2021 Spring Road, Suite 200
                 119185                                        Mattress Firm, Inc.                Suite B1-B3                display racks, frames, desk chairs and/or bed
                              ATTN: President/Property
                                                                                               Chicago, IL 60639             frames
                                      Management
                                 Oak Brook, IL, 60523
                             RPAI US Management, LLC                                                                         TBD – may include Personal Property such as
       74.                                                                                    2645A Housley Road
                 152010      2021 Spring Road, Suite 200         Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                              Annapolis, MD 21401
                                 Oak Brook, IL, 60523                                                                        frames
                            SC North Myrtle Beach Retail,
                                           LP
                                                                                                                             TBD – may include Personal Property such as
       75.                        c/o RealtyLink, LLC                                           1370 Hwy 17N
                 076015                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                             550 S. Main Street, Suite 300                               North Myrtle Beach, SC 29582
                                                                                                                             frames
                               ATTN: Legal Department
                                 Greenville, SC, 29601
                            Southside Marketplace Limited
                                       Partnership
                                                                                                                             TBD – may include Personal Property such as
       76.                c/o Regency Centers Corporation                                        869 E Fort Ave
                 152036                                          Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                          One Independent Drive, Suite 114                                    Baltimore, MD 21230
                                                                                                                             frames
                             ATTN: Lease Administration
                                Jacksonville, FL, 32202
                          Subrooke LLC c/o Kin Properties,                                                                   TBD – may include Personal Property such as
       77.                                                                                      380 Loucks Road
                 161002   Inc. 185 NW Spanish River Blvd.        Sleepy's, LLC                                               display racks, frames, desk chairs and/or bed
                                                                                                York, PA 17404
                                Boca Raton, FL, 33431                                                                        frames
                          TATE 114 Shopping Center, LTD
                               c/o The Weitzman Group                                                                        TBD – may include Personal Property such as
       78.                                                                           1219 West State Highway 114 Suite 204
                 117015     3102 Maple Avenue, Suite 500       Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                            Grapevine, TX 76051
                                 ATTN: Greg Culchin                                                                          frames
                                   Dallas, TX, 75201
                                    TMGN 121, LLC
                                                                                                                             TBD – may include Personal Property such as
       79.                       15907 Ranchita Drive                                        5701 SH 121, Ste 100
                 002135                                        Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                   ATTN: Ron Avneri                                          The Colony, TX 75056
                                                                                                                             frames
                                   Dallas, TX, 75248
                                 TPP 30 Tolleson LLC
                           c/o Trigate Property Partners LP                                                                  TBD – may include Personal Property such as
       80.                                                                                   9897 W McDowell Rd
                 029136     750 North St. Paul Street, Suite   Mattress Firm, Inc.                                           display racks, frames, desk chairs and/or bed
                                                                                              Tolleson, AZ 85353
                                           900                                                                               frames
                                   Dallas, TX, 75201

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                 STORE    LEASE COUNTERPARTY
                                                                DEBTOR                   PROPERTY ADDRESS                           ABANDONED PROPERTY
                NUMBER        AND ADDRESS
                          TRPF Marlton Square PAD LLC
                            c/o TH Real Estate Americas,
                                  Global Real Estate                                                                        TBD – may include Personal Property such as
       81.                                                                                     330 Route 73
                 162049           730 Third Avenue             Sleepy's, LLC                                                display racks, frames, desk chairs and/or bed
                                                                                          South Marlton, NJ 08053
                             ATTN: Todd Rollins, Senior                                                                     frames
                                       Director
                                New York, NY, 10017
                                 TSM Ventures, Inc.                                                                         TBD – may include Personal Property such as
       82.                                                                                   2720 S Market St
                 029152     301 N. Neil Street, Suite #400   Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                                                                             Gilbert, AZ 85296
                                Champaign, IL, 61820                                                                        frames
                              VAA Improvements, LLC
                                c/o DLC Management
                                                                                                                            TBD – may include Personal Property such as
       83.                           Corporation                                   190 E Stacy Road, Bldg 1300 Suite 1324
                 002089                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                           190 East Stacy Road, Suite 1508                                    Allen, TX 75002
                                                                                                                            frames
                              ATTN: Stephanie Walton
                                  Allen, TX, 75002
                               Veraz Fondo UNO, LLC
                           c/o Cushman & Wakefield U.S.,                                                                    TBD – may include Personal Property such as
       84.                                                                                 1231 Mebane Oaks Rd
                 017180                  Inc.                  Sleepy's, LLC                                                display racks, frames, desk chairs and/or bed
                                                                                            Mebane, NC 27302
                          721 Emerson Road, Suite 300 St.                                                                   frames
                                  Louis, MO, 63141
                          VEREIT MF Appleton WI, LLC
                                  c/o VEREIT, Inc.                                                                          TBD – may include Personal Property such as
       85.                                                                                3626 W College Avenue
                 112010   2325 East Camelback Road, Suite    Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                                                                            Appleton, WI 54914
                                         1100                                                                               frames
                                 Phoenix, AZ, 85016
                            VEREIT MT Orland Park IL,
                                         LLC
                                                                                                                            TBD – may include Personal Property such as
       86.                        c/o VEREIT, Inc.                                        15840 S Harlem Avenue
                 119258                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                          2325 East Camelback Road, Suite                                  Orland Park, IL 60462
                                                                                                                            frames
                                         1100
                                 Phoenix, AZ, 85016
                               Weingarten Nostat, Inc.
                                                                                                                            TBD – may include Personal Property such as
       87.                 2600 Citadel Plaza Drive, Suite                                9192 Glades Road, Ste. B
                 052038                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                         125                                               Boca Raton, FL 33428
                                                                                                                            frames
                                 Houston, TX, 77008
                               Weingarten Nostat, Inc.
                                                                                                                            TBD – may include Personal Property such as
       88.                 2600 Citadel Plaza Drive, Suite                                    939 E Broadway
                 029100                                      Mattress Firm, Inc.                                            display racks, frames, desk chairs and/or bed
                                         125                                                 Tempe, AZ 85282
                                                                                                                            frames
                                 Houston, TX, 77008



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